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Attorneys  for  Defendant  
Original  Doggear,  ApS  
  
  
  
  
  
                          IN  THE  UNITED  STATES  DISTRICT  COURT  
                                                      
                           FOR  THE  DISTRICT  COURT  OF  OREGON  
                                                      
                                       EUGENE  DIVISION  
                                                      
                                                         
   RUFF  WEAR,  INC.,  an  Oregon  corporation,  
                                                             Case  No.  6:14-­‐‑cv-­‐‑00376-­‐‑MC  
                                                   
                                 Plaintiff,        
                                                             MEMORANDUM  OF  POINTS  AND  
         v.                                                  AUTHORITIES  IN  SUPPORT  OF  
                                                             DEFENDANT  ORIGINAL  DOGGEAR,  
   ORIGINAL  DOG  GEAR,  ApS                                 ApS’  MOTION  TO  QUASH  SERVICE  
                                                             OF  PROCESS  AND  DISMISS  THE  
                                 Defendant.                  COMPLAINT  
                                                               
                                                             Pursuant  to  Fed.R.Civ.P.  12(b)  
                                                            

  
                                      




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                                                I.     INTRODUCTION  

         Plaintiff   Ruff   Wear,   Inc.,   (“Ruff   Wear”   or   “Plaintiff”)   filed   a   complaint   against  
defendant  Original  Doggear,  ApS,  (“Original  Doggear”  or  “Defendant”)  in  the  Circuit  Court  
of   Oregon   for   the   County   of   Deschutes,   Case   No.   13CV1435.         On   February   12,   2014,   in  
Denmark,   Original   Doggear   was   served   the   documents   attached   to   the   Declaration   of   Kjell  
Arne  Engeseth  (“Engeseth  Decl.”)  as  Exhibit  A.    See  Engeseth  Decl.,  ¶  1.    Original  Doggear  has  
never  been  served  with  a  summons.    See  Engeseth  Decl.,  ¶  3.    The  only  document  served  on  
Original   Doggear   that   was   translated   into   the   Danish   language   was   the   complaint,   not  
including  the  exhibits  attached  to  the  complaint.    See  Engeseth  Decl.,  ¶  3.  
         Because   Original   Doggear   was   not   served   with   a   summons   and   because   the   means   of  
service   did   not   comply   with   the   Hague   Convention   on   the   Service   Abroad   of   Judicial   and  
Extrajudicial   Documents   in   Civil   or   Commercial   Matters   (“Hague   Convention”),   Original  
Doggear   respectfully   requests   that   this   Court   quash   the   service   of   process   and   dismiss   this  
matter  against  Original  Doggear.  
         Additionally,  Original  Doggear  requests  this  Court  to  dismiss  the  Complaint  against  it  
pursuant  to  Fed.  R.  Civ.  12(b)((2)  because  the  State  of  Oregon  lacks  personal  jurisdiction  over  
it.      Original   Doggear   is   a   Danish   entity   that   maintains   its   principal   place   of   business   in   the  
Kingdom  of  Denmark.    See  Engeseth  Decl.,  ¶  6.    Original  Doggear  has  no  physical  presence  in  
the  State  of  Oregon;  does  not  having  employees  in  the  State  of  Oregon;  has  never  directed  any  
marketing  efforts  toward  the  State  of  Oregon;  has  never  filed  taxes  in  the  State  of  Oregon;  does  
not   maintain   any   property,   addresses,   or   bank   accounts   in   the   State   of   Oregon;   has   never  
registered  to  do  business  in  the  State  of  Oregon;  and  has  not  designated  an  agent  for  service  of  
process  in  the  State  of  Oregon.    See  Engeseth  Decl.,  ¶¶  7  &  8.  
         The   Distribution   Agreement   (“Agreement”)   that   is   the   subject   of   the   Complaint   was  

negotiated  and  executed  over  two  days  in  Thailand,  where  Original  Doggear’s  Director,  Kjell  
Arne   Engeseth,   was   visiting   on   a   business   trip.      See   Engeseth   Decl.,   ¶   8.      Representatives   of  

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Ruff  Wear  met  up  with  Mr.  Engeseth  in  Thailand  to  negotiate  the  final  terms  of  the  Agreement  
and  to  execute  it.    Id.  
                                                       II.      ARGUMENT  

         A.        The   Court   Should   Dismiss   the   Complaint   for   Lack   of   Proper   Service   of  
         Summons  
	       This	   is	   a	   diversity	   action	   removed	   from	   the	   Circuit   Court   of   Oregon   for   the   County   of  
Deschutes  pursuant  to  a  Notice  of  Removal  filed  on  behalf  of  Original  Doggear.    Accordingly,  
Oregon   State   law   is   the   operative   substantive   law   regarding   sufficient   and   proper   service   of  
process.      
         Oregon  Rules  of  Civil  Procedure  provide  that  “Summons  shall  be  served,  either  within  
or   without   this,   state   in   any   manner   reasonably   calculated,   under   all   the   circumstances,   to  
apprise   the   defendant   of   the   existence   and   pendency   of   the   action   and   afford   a   reasonable  
opportunity  to  appear  and  defend.”    ORCP  7(D)(1).    Oregon  Rules  of  Civil  Procedure  further  
provide   for   the   substance   of   the   summons   required   to   be   served   on   a   defendant.      Generally,  
the  summons  must  contain  the  title  of  the  action,  a  direction  that  the  defendant  is  required  to  
appear   and   defend   within   an   applicable   time   period,   notice   if   the   defendant   fails   to   appear,  
plaintiff  will  apply  for  the  relief  defended,  and  the  following  notice  printed  in  type  size  equal  
to  at  least  8-­‐‑point  type:  




                                                      NOTICE  TO  DEFENDANT  

                                                         READ  THESE  PAPERS  

                                                                CAREFULLY!  

                   You   must   “appear”   in   this   case   or   the   other   side   will   win   automatically.  
                   To   “appear”   you   must   file   with   the   court   a   legal   document   called   a  
                   “motion”   or   “answer.”   The   “motion”   or   “answer”   must   be   given   to   the  

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                  court  clerk  or  administrator  within  30  days  along  with  the  required  filing  
                  fee.  It  must  be  in  proper  form  and  have  proof  of  service  on  the  plaintiff'ʹs  
                  attorney  or,  if  the  plaintiff  does  not  have  an  attorney,  proof  of  service  on  
                  the  plaintiff.  

                  If   you   have   questions,   you   should   see   an   attorney   immediately.   If   you  
                  need  help  in  finding  an  attorney,  you  may  contact  the  Oregon  State  Bar'ʹs  
                  Lawyer   Referral   Service   online   at   www.oregonstatebar.org   or   by   calling  
                  (503)  684-­‐‑3763  (in  the  Portland  metropolitan  area)  or  toll-­‐‑free  elsewhere  in  
                  Oregon  at  (800)  452-­‐‑7636.  
See  ORCP  7C(1)(a),  ORCP  7C(b),  and  ORCP  7C(3)(a).  
         Although  Oregon  Rules  of  Civil  Procedure  Rule  7G  directs  the  court  to  “disregard  any  

error   in   the   *   *   *   service   of   the   summons   that   does   not   materially   prejudice   the   substantive  
rights   of   the   party   against   whom   summons   was   issued,”   “[a]dequate   service   .   .   .   ‘is,   itself,   a  
prerequisite  to  disregarding  errors  in  the  content  or  service  of  a  summons  under  the  authority  
of   the   second   sentence   of   ORCP   7G.”      Murphy   v,   Price,   131   Or.App.   693,   699   (1994),   citing  
Edwards  v.  Edwards,  310  Or.  672,  681  (1990).  
         The  Circuit  Court  of  Oregon,  and  this  Court  sitting  in  diversity,  is  without  jurisdiction  
where  a  proper  summons  apprising  the  defendant  of  the  existence  and  pendency  of  the  action  
and  to  afford  a  reasonable  opportunity  to  appear  and  defend  was  not  served  on  a  defendant.    
“Under  ORCP  4,  an  Oregon  court  does  not  have  jurisdiction  over  a  defendant  unless  there  is  
service  of  summons  pursuant  to  ORCP  7.”    Baker  v.  Foy,  310  Or.  221,  224  (1990).  
         Because  no  summons  was  served  on  Original  Doggear,  this  court  is  without  jurisdiction  
over  the  Defendant.    Accordingly,  Original  Doggear  respectfully  requests  this  Court  to  dismiss  
the  action  against  it.  
         B.       Service   of   the   Complaint   Failed   to   Comply   with   the   Requirements   of   the  
         Hague  Convention  on  the  Service  Abroad  of  Judicial  and  Extrajudicial  Documents  in  
         Civil  or  Commercial  Matters.  
         According  to  its  own  terms,  the  Hague  Convention  “shall  apply  in  all  cases,  in  civil  or  


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commercial   matters,   where   there   is   occasion   to   transmit   a   judicial   or   extrajudicial   document  
for   service   abroad.”      Hague   Convention1,   Art.   1.      Both   the   United   States   and   Denmark   are  
signatories  to  the  Hague  Convention.  
         The   Hague   Convention   provides   for   various   “channels”   by   which   service   of   judicial  
and  extrajudicial  documents  may  be  served  abroad.    The  main  channel  of  service  is  through  a  
Central   Authority   designated   by   the   Contracting   State   within   which   service   is   to   be  
accomplished.      See   Hague   Convention,   Arts.   2-­‐‑7.      Under   the   main   channel   of   transmission  
provided  for  by  the  Hague  Convention,  the  authority  or  judicial  officer  competent  under  the  
law  of  the  requesting  State  transmits  the  document  to  be  served  to  a  Central  Authority  of  the  
requested   State.      Id.      In   the   United   States,   the   Justice   Department   is   formally   the   Central  
Authority,   but   has   outsourced   the   activities   conducted   by   the   Central   Authority   to   a   private  
process  server  company  (Process  Forwarding  International).    See  Declaration  of  Loren  Lunsford,  
Exhibit  B.  
         Alternative   channels   by   which   service   is   authorized   under   the   Hague   Convention  
include  consular  and  diplomatic  channels,  postal  channels,  and  direct  communication  between  
“judicial  officers,  officials  or  other  competent  person.”    See  Hague  Convention,  Art.  10.  
         The   burden   is   on   the   plaintiff   to   establish   the   validity   of   service.      Cardenas   v.   City   of  
Chicago  (7th  Cir.  2011)  646  F.3d  1001,  1005;  Grand  Entertainment  Group,  Ltd.  v.  Star  Media  Sales,  
Inc.  (3d  Cir.  1993)  988  F.2d  476,  488.      
         The   Defendant   is   not   aware   of   the   particular   method   of   service   used   by   the   Plaintiff  
other   than   a   Danish   process   server   handed   the   documents   attached   to   the   Engeseth   Decl.   as  
Exhibit  A  to  Mr.  Engeseth.    However,  simply  being  handed  documents  by  a  process  server  in  a  
Contracting   State   does   not   comply   with   the   requirements   of   the   Hague   Convention   if   the  
documents  were  not  transmitted  abroad  through  one  of  the  authorized  channels.    In  order  for  
         	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  
         1	  A	  true	  and	  correct	  copy	  of	  the	  Hague	  Convention	  is	  attached	  to	  the	  Declaration	  of	  

         Loren	  Lunsford	  as	  Exhibit	  A.	  
         	  
         MOPA  IN  SUPPORT  OF  12(b)  MOTION  
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a  Danish  process  server  to  effectuate  service  of  the  documents,  the  documents  must  have  been  
transmitted   through   the   Central   Authority   in   the   United   States   to   the   Central   Authority   in  
Denmark.      
        Because   service   of   process   was   not   effectuated   in   accordance   with   the   Hague  
Convention,   Original   Doggear   requests   that   this   Court   quash   the   service   of   process   and  
dismiss  this  matter.  
        C.       The  Court  Should  Dismiss  this  Action  Because  the  Defendant  is  not  Subject  to  
        Personal  Jurisdiction  in  Oregon.  
The  Court  should  dismiss  this  complaint  because  Defendant  Original  Doggear  is  not  subject  to  
personal   jurisdiction   in   Oregon.      See   FRCP   12(b)(2)   (providing   the   Court   with   authority   to  
dismiss  the  complaint  for  lack  of  personal  jurisdiction).  
        Although  the  defendant  is  the  moving  party  on  a  motion  to  dismiss,  the  plaintiff  bears  
the  burden  of  establishing  that  jurisdiction  exists.    Schwarzenegger  v.  Fred  Martin  Motor  Co.,  374  
F.3d  797,  800  (9th  Cir.  2004);  KVOS,  Inc.  v.  Assoc.  Press,  299  U.S.  269,  278  (1936)  (explaining  that  
plaintiff   bears   the   burden   of   establishing   jurisdiction   when   it   is   challenged   by   a   defendant).    
Under   Oregon   law,   the   personal   jurisdiction   analysis   turns   on   whether   exercising   personal  
jurisdiction  comports  with  federal  principles  of  due  process.  See  Raffaele  v.  Compagnie  Generale  
Maritime,   707   F.2d   395,   396   (9th   Cir.   1983)   (“Oregon’s   long-­‐‑arm   statute,   Rule   4   …   has   been  
interpreted   to   confer   jurisdiction   ‘to   the   outer   limits’   of   due   process.”);   see   also   ORCP   4  
(conferring  personal  jurisdiction  in  line  with  federal  due  process).  
  
        Therefore,  in  compliance  with  federal  principles  of  due  process,  Plaintiff  must  establish  
that  Defendant  either  has  continuous  and  systematic  contacts  with  Oregon  that  are  sufficient  
to   establish   general   jurisdiction,   or   that   the   underlying   dispute   arises   out   of   forum-­‐‑related  

activities   that   are   sufficient   to   establish   specific   jurisdiction   for   this   particular   matter.   See  
Raffaele,  707  F.2d  at  396-­‐‑97.    Plaintiff  cannot  establish  personal  jurisdiction  over  the  Defendant  

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in  the  matter  at  bar  because  it  does  not  have  sufficient  contacts  with  Oregon  to  justify  general  
jurisdiction  and  the  lawsuit  does  not  arise  out  of  any  contacts  that  the  Defendant  had  with  this  
forum.  
         1.    Defendant  Lacks  Continuous  and  Systematic  Contacts  with  Oregon.  
         “For  general  jurisdiction  to  exist  over  a  nonresident  defendant  .  .  .  the  defendant  must  
engage   in   ‘continuous   and   systematic   general   business   contacts,’   .   .   .   that   ‘approximate  
physical   presence   in   the   forum   state.’”      Schwarzenegger,   374   F.3d   at   801   (quoting   Helicopeteros  
Nacionales   de   Colombia,   S.A.   v.   Hall,   466   U.S.   408,   416,   104   S.Ct.   1868,   80   L.Ed.2d   404   (1984)  
(citations   omitted);   Bancroft   &   Masters,   Inc.   v.   August   Nat’l,   Inc.,   223   F.3d   1082,   1086   (9th   Cir.  
2000));  Goodyear  Dunlop  Tires  Operations,  S.A.  v.  Brown,  131  S.  Ct.  2846,  2851;  180  L.  Ed.  2d  796,  
803   (2011)   (requiring   contacts   that   are   “so   ‘continuous   and   systematic’   as   to   render   them  
essentially  at  home  in  the  forum  State”)  (quoting  International  Shoe  Co.  v.  Washington,  326  U.S.  
310,  317  (1945))  (requiring  contacts  that  are  “so  ‘continuous  and  systematic’  as  to  render  them  
essentially  at  home  in  the  forum  State”).    Merely  engaging  in  commerce  with  residents  of  the  
forum   state   is   not   sufficient   to   meet   the   “fairly   high”   threshold   of   establishing   general  
jurisdiction.      Bancroft   &   Masters,   Inc.   v.   August   Nat’l,   Inc.,   223   F.3d   1082,   1086   (9th   Cir.   2000).    
Generally,   a   court   will   not   find   general   jurisdiction   where,   as   here,   defendants   do   not   own  
property,  keep  bank  accounts,  have  employees  or  offices,  or  solicit  business  in  the  forum  state.  
See,   e.g.,   Helicopteros,   466   U.S.   at   416;   Glencore  Grain  Rotterdam  B.  V.  v.  Shivnath  Rai  Harnarain  
Co.,  284  F.3d  1114,  1124-­‐‑25  (9th  Cir.  2002).  
  
         In   a   matter   similar   to   the   one   at   bar,   this   District   concluded   that   there   was   nothing   in  
the   record   to   suggest   that   the   defendants   engaged   in   substantial   or   continuous   activities  
sufficient   to   confer   general   jurisdiction,   where,   as   here,   defendants   were   not   licensed   to   do  

business  in  Oregon,  did  not  maintain  offices  or  employees  in  Oregon,  did  not  own  property  or  
pay  taxes  in  Oregon.    See  Albany  Insurance  Co.  v.  Rose-­‐‑Tillman,  Inc.,  883  F.  Supp.  1459,  1462-­‐‑63  

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(D.  Or.  1995).  
         The   complaint   does   not   provide   any   factual   allegations   to   support   an   assertion   that  
Original   Doggear   regularly   conducts   business   in   Oregon.      In   fact,   various   allegations   of   the  
complaint   contradict   that   assertion.      For   example,   the   complaint   admits   the   Defendant   is   a  
Danish   corporation   not   licensed   to   do   business   in   Oregon.      See   Complaint   at   ¶   1.      Indeed,  
Defendant   lacks   the   type   of   continuous   and   systematic   general   business   contacts   in   Oregon  
that  would  “approximate  physical  presence”  and  subject  it  to  general  jurisdiction.  
         Defendant  is  a  Danish  entity  that  maintains  its  principal  place  of  business  in  Denmark.    
See  Complaint  at  ¶  1;  Engeseth  Decl.  at  ¶  6.    Defendant  has  no  physical  presence  in  the  State  of  
Oregon.    Id.    Defendant  does  not  have  any  employees  in  the  State  of  Oregon  and  also  do  not  
maintain  an  office  there.    Id.    Defendant  has  never  directed  any  marketing  efforts  toward  the  
State  of  Oregon  in  the  form  of  advertising  or  otherwise.    See  Engeseth  Decl.  at  ¶  7.    Defendant  
has  also  never  filed  any  taxes  in  Oregon;  does  not  maintain  any  property,  addresses  or  bank  
accounts  there;  have  never  registered  to  do  business  there;  and  has  not  designated  an  agent  for  
service  of  process  in  the  state.    Id.    In   sum,   Defendant   lacks   the   type   of   contacts   that   would  
approximate  physical  presence  and  confer  general  jurisdiction  in  the  State  of  Oregon.  
         2.  There  is  No  Specific  Jurisdiction  in  Oregon.  
         Just  as  Plaintiff’s  complaint  is  devoid  of  any  sufficient  to  establish  general  jurisdiction,  
the   complaint   is   devoid   of   any   allegations   that   would   establish   specific   jurisdiction   in   this  
matter.    Indeed,  there  are  no  such  facts  that  could  support  the  exercise  of  specific  jurisdiction  
over  the  Defendant.  
         The   Ninth   Circuit,   including   courts   in   this   District,   employs   a   three-­‐‑part   test   to  
determine   the   existence   of   specific   jurisdiction.      See   Albany   Insurance   Co.   v.   Rose-­‐‑Tillman,   Inc.,  
883  F.  Supp.  1459,  1464  (D.  Or.  1995);  Schwarzenegger,  374  F.3d  at  802  (recounting  the  three-­‐‑part  

test).      Specifically,   in   order   to   exercise   specific   jurisdiction,   Plaintiff   must   establish   that:   (1)  
“[t]he   non-­‐‑resident   defendant   purposefully   direct   his   activities   or   consummate   some  

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transaction  with  the  forum  or  resident  thereof;  or  perform  some  act  by  which  he  purposefully  
avails   himself   of   the   privilege   of   conducting   activities   in   the   forum,   thereby   invoking   the  
benefits   and   protections   of   its   laws;”   and   (2)   the   claim   “arises   out   of   or   relates   to   the  
defendant’s  forum-­‐‑related  activities.”    Schwarzenegger,  374  F.3d  at  802;  Albany  Insurance  Co.,  883  
F.  Supp.  at  1464.    “If  the  plaintiff  fails  to  satisfy  either  of  these  prongs,  personal  jurisdiction  is  
not  established  in  the  forum  state.”    Schwarzenegger,  374  F.3d  at  802;  Boschetto  v.  Hansing,  539  
F.3d  1011,  1016  (9th  Cir.  2008)  (“[I]f  the  plaintiff  fails  at  the  first  step,  the  jurisdictional  inquiry  
ends  and  the  case  must  be  dismissed.”).    Even  if  the  plaintiff  establishes  both  prongs  one  and  
two,  specific  jurisdiction  does  not  exist  under  the  third  factor  where  the  defendant  establishes  
that   the   exercise   of   jurisdiction   would   not   be   reasonable.      See   Boschetto   v.   Hansing,   539   F.3d  
1011,  1016  (9th  Cir.  2008)  (quoting  Schwarzenegger,  374  F.3d  at  802  (quoting  Burger  King  Corp.  v.  
Rudzewicz,  471  U.S.  462,  476-­‐‑78,  105  S.Ct.  2174,  (1985)).  
                 a.  Defendants  have  Not  Purposefully  Availed  Themselves  of  the  
                 Privilege  of  Conducting  Activities  in  Oregon.  
        Where,  as  here,  Plaintiff’s  complaint  is  predicated  upon  the  breach  of  an  agreement,  the  
Ninth   Circuit   undertakes   a   “purposeful   availment”   analysis   to   determine   whether   the  
Defendant  has  benefited  from  the  privilege  of  doing  business  in  the  forum  state  under  the  first  
prong  of  the  specific  jurisdiction  analysis.    Schwarzenegger,  374  F.3d  at  802-­‐‑03  (explaining  that  
the   purposeful   availment   analysis   applies   to   contract   cases,   while   a   purposeful   direction  
inquiry  ordinarily  applies  to  tort  matters).      
        Plaintiff’s   only   causes   of   actions   in   the   matter   at   bar   are   based   directly   on   Oringial  
Doggear’s   alleged   breach   of   the   Agreement   by   failing   to   pay   for   inventory   purchased   under  
the  Agreement  and  by  failing  to  cease  and  desist  utilizing  Plaintiff’s  intellectual  property.    See  
Complaint  at  ¶¶  4-­‐‑5.    Accordingly,  the  Court  should  apply  a  “purposeful  availment”  analysis  

to   determine   whether   the   Defendant   has   purposefully   availed   itself   of   the   privilege   of  
conducting  business  in  Oregon.  

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         “It  is  well  settled  that  [t]he  unilateral  activity  of  those  who  claim  some  relationship  with  
a   nonresident   defendant   cannot   satisfy   the   requirement   of   contact   with   the   forum   State.”    
McGlinchy  v.  Shell  Chemical  Co.,  845  F.2d  802,  816  (9th  Cir.  1988)  (quoting  Hanson  v.  Denckla,  357  
U.S.   235,   253   (1958)).      In   McGlinchy,   the   Ninth   Circuit   held   that   the   plaintiff’s   claim   that   it  
performed   90%   of   its   activities   under   the   contract   in   the   forum   state   did   not   meet   the  
purposeful   availment   test,   because   “[a   plaintiff’s]   performance   in   California   cannot   give  
jurisdiction   over   ...   [a   nonresident   defendant];   it   is   [a   defendant’s]   activity   that   must   provide  
the  basis  for  jurisdiction.”    Id.  at  816-­‐‑17.  
         Rather,   the   purposeful   availment   analysis   turns   on   an   analysis   of   the   defendant’s  
conduct,  including  “prior  negotiations  and  contemplated  future  consequences,  along  with  the  
terms  of  the  contract  and  the  parties’  actual  course  of  dealing.”    Burger  King  Corp.  v.  Rudzewicz,  
471   U.S.   462,   479   (1985).      In   that   regard,   an   out-­‐‑of-­‐‑state   party   does   not   subject   itself   to  
jurisdiction   in   a   forum   merely   by   entering   into   a   contract   with   a   forum   resident   under   the  
purposeful  availment  test.    Rudzewicz,  471  U.S.  at  478;  Fed.  Deposit  Ins.  Corp  v.  British-­‐‑  American  
Ins.  Co.,  Ltd.,  828  F.2d  1439,  1443  (9th  Cir.  1987)  (“It  is  clear  that  a  contract  alone  is  not  sufficient  
to   establish   purposeful   interjection   into   a   forum   state.”).      Even   conduct   that   goes   far   beyond  
merely  entering  into  an  agreement  with  the  forum  plaintiff  is  often  not  sufficient  to  establish  
such  purposeful  availment.    In  British-­‐‑American  Ins.  Co.,  Ltd.,  the  Ninth  Circuit  concluded  that  
the   defendant   had   not   purposefully   injected   itself   into   the   forum   state   where,   despite  
dispatching  an  agent  to  pick  up  a  check  from  the  forum  state,  the  subject  of  the  contract  was  
not   in   the   forum   and   the   matter   was   not   subject   to   the   law   of   the   forum   state.      See   British-­‐‑
American  Ins.  Co.,  Ltd.,  828  F.2d  at  1443.    Similarly,  the  Ninth  Circuit  more  recently  upheld  the  
dismissal  of  a  contract  case  for  lack  of  jurisdiction  in  a  forum  state,  even  though  the  defendant  
had  traveled  to  meet  the  plaintiff  in  the  forum  state  multiple  times.    See  HK  China  Group,  Inc.  v.  

Beijing   United   Auto.   &   Motorcycle   Mfg.   Corp.,   417   Fed.   Appx.   664,   666   (9th   Cir.   Mar.   2,   2011)  
(unpublished);   see   also   Sher  v.  Johnson,   911   F.2d   1357,   1363   (9th   Cir.   1990)   (three   visits   to   the  

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forum   state   in   connection   with   a   contracted   engagement   do   not   constitute   purposeful  
availment).  
        Plaintiff’s   complaint   incorrectly   asserts   that   the   “Agreement   provides   that   jurisdiction  
and   venue   for   any   suit   to   enforce   this   Agreement   is   in   Oregon”,   while   at   the   same   time  
attaching  the  Agreement  as  an  Exhibit  that  provides  for  no  such  provision.    See  Complaint,  ¶  7;  
Complaint,  Exhibit  1.    The  Agreement  does  include  a  choice  of  law  provision  stating  Oregon  
law   shall   apply,   but   a   choice   of   law   provision   does   not   convey   jurisdiction   or   venue.      While  
Original  Doggear  does  have  an  Agreement  with  the  Plaintiff,  which  happens  to  be  an  Oregon-­‐‑
based   entity,   at   no   point   in   time   did   Original   Doggear   perform   any   services   under   the  
Agreement  in  the  State  of  Oregon.    See  Engeseth  Decl.  at  ¶  9.    In  fact,  the  Agreement,  being  an  
exclusive  distribution  agreement,  set  forth  the  territory  within  which  Original  Doggear  would  
be   providing   its   services,   namely,   Austria,   Belgium,   Denmark,   Finland,   Germany,   The  
Netherlands,   Norway,   Sweden,   and   Switzerland.      Complaint,   Exhibit   1,   p.   12,   ¶   1.      In   sum,  
Original   Doggear   undertook   no   performance   whatsoever   in   the   State   of   Oregon,   and   the  
Plaintiff’s  claims  are  solely  based  on  conduct  that  allegedly  took  place  in  Denmark.  
        Dismissal   is   proper   here   because   Plaintiff   “fails   to   allege   any   act   or   conduct   by   [the]  
defendant  in  Oregon,”  and  it  is  therefore  “clear  from  the  face  of  the  Complaint  that  this  court  
lacks  personal  jurisdiction  over  all  of  the  Danish  defendant.”    Anaeme  v.  U.S.,  No.  3:12-­‐‑cv-­‐‑418-­‐‑
ST,  2012  WL  1282169,  at  *  5  (D.  Or.  Mar.  14,  2012).2    
                           b.  Plaintiff’s  Claims  Arise  Out  of  Activities  in  Denmark.  
        The   second   requirement   for   specific   jurisdiction   is   that   the   claim   must   arise   out   of   or  
relate  to  the  defendant’s  forum-­‐‑related  activities.    Schwarzenegger,  374  F.3d  at  802.    There  can  be  
no   specific   jurisdiction   without   establishing   such   a   connection.      Under   this   prong,   the   Ninth  

        	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  
        2	  Although	  not	  published,	  this	  decision	  and	  all	  subsequent	  unpublished	  decisions	  

        that	  are	  cited	  herein	  are	  citable	  pursuant	  to	  Federal	  Rule	  of	  Appellate	  Procedure	  
        32.1,	  which	  allows	  for	  the	  citation	  of	  unpublished	  decisions	  issued	  after	  January	  1,	  
        2007.	  
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Circuit   employs   a   “but   for”   test,   which   requires   the   plaintiff   to   show   that   but   for   the  
defendant’s   forum-­‐‑related   contacts,   the   asserted   claims   would   not   have   arisen.      Menken   v.  
Emm,  503  F.3d  1050,  1058  (9th  Cir.  2007);  Home  Poker  Unlimited,  Inc.  v.  Cooper,  No.  09-­‐‑   CV-­‐‑460-­‐‑
BR,  2009  WL  5066653,  at  *7  (D.  Or.  Dec.  15,  2009)  (“Thus,  Plaintiff  must  establish  it  would  not  
have  been  injured  “but  for”  Defendants'ʹ  activities  in  Oregon.”).  
         Plaintiff   does   not   and   cannot   establish   that   its   claims   arose   out   of   any   activities   that  
were  engaged  in  by  the  Defendant  in  Oregon.    As  described  above,  Plaintiff’s  claims  are  based  
on   an   Agreement   that   Original   Doggear   was   negotiated   and   executed   in   Thailand,   and  
performed   in   Denmark   or   other   European   countries.   See   Engeseth   Decl.   at   ¶   8,   Complaint,  
Exhibit  1,  p.  11  (Schedule  1).      
                  c.  Exercising  Jurisdiction  in  Oregon  is  Unreasonable.  
         Even   assuming   arguendo   that   Plaintiff   could   establish   both   the   Defendant   purposely  
availed   itself   of   the   benefit   of   doing   business   in   Oregon   and   that   its   claims   arise   out   of  
activities   in   Oregon,   which   it   cannot,   the   Court   should   still   dismiss   for   lack   of   specific  
jurisdiction  because  it  would  be  unreasonable  to  subject  the  Danish  Defendant  to  jurisdiction  
in  Oregon  for  several  reasons.  
         If  the  first  two  factors  of  the  specific  jurisdiction  test  are  met,  the  Court  then  examines  
whether   it   would   be   reasonable   to   exercise   jurisdiction   over   the   Defendant   based   on   a  
balancing   of   the   following   seven   factors:   (1)   the   extent   of   the   defendants’   purposeful  
interjection  into  the  forum  state;  (2)  the  burden  on  the  defendant  of  defending  in  the  forum;  (3)  
the  extent  of  conflict  with  the  sovereignty  of  the  defendants’  state;  (5)  the  forum  state’s  interest  
in   adjudicating   the   dispute;   (6)   the   importance   of   the   forum   to   the   plaintiff’s   interest   in  
convenient   and   effective   relief;   and   (7)   the   existence   of   an   alternative   forum.      See   Core-­‐‑Vent  
Corp.  v.  Nobel  Industries,  11  F.3d  1482,  1487-­‐‑88  (9th  Cir.  1993);  see  also  Boschetto,  539  F.3d  at  1016  

(quoting  Schwarzenegger,  374  F.3d  at  802)  (“If  the  plaintiff  establishes  both  prongs  one  and  two,  
the   defendant   must   come   forward   with   a   ‘compelling   case’   that   the   exercise   of   jurisdiction  

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would   not   be   reasonable.”).      “None   of   the   factors   is   dispositive   in   itself;   instead,   we   must  
balance  all  seven.”    Id.  at  1488.    Indeed,  a  balancing  of  the  factors  militates  against  subjecting  
the  Danish  Defendant  to  jurisdiction  in  Oregon.  
        The   exercise   of   jurisdiction   over   the   Defendant   in   Oregon   is   not   reasonable,   based   on  
several   factors   including   because   Defendants   have   not   engaged   in   any   conduct   that  
approaches  purposeful  availment  in  the  forum.    See  Core-­‐‑Vent,  11  F.3d  at  1488  (“[T]he  smaller  
the   element   of   purposeful   interjection,   the   less   is   jurisdiction   to   be   anticipated   and   the   less  
reasonable  is  its  exercise.”).    It  would  be  burdensome  to  require  the  Danish  Defendant  to  deal  
with  this  dispute  in  Oregon,  where  they  have  no  presence,  because  they  have  not  engaged  in  
any   activity   in   the   state,   and   Original   Doggear   agreed   to   provide   services   to   the   Plaintiff   in  
Denmark   and   other   European   countries.      Also,   prior   to   Plaintiff   filing   the   present   action   in  
Oregon,  Original  Doggear  filed  a  lawsuit  against  Ruff  Wear  in  Denmark,  which  action  is  still  
pending.      The   fact   that   a   previously   filed   lawsuit   is   currently   pending   in   an   alternate   forum  
involving   the   same   parties   and   involving   the   same   Agreement   mitigates   against   the  
reasonableness  of  requiring  the  Defendant  from  defending  this  action  in  Oregon.  
        It   would   therefore   not   be   reasonable   to   exercise   jurisdiction   over   the   Defendant   in  
Oregon   because,   while   several   of   the   relevant   factors   militate   against   exercising   such  
jurisdiction,  none  of  the  factors  provide  support  for  such  jurisdiction.      
        Therefore,   all   three   of   the   factors   relevant   to   the   specific   jurisdiction   analysis   militate  
towards  the  lack  of  personal  jurisdiction  over  the  Danish  Defendant.    Because  Plaintiff  fails  to  
establish   either   general   or   specific   jurisdiction   over   Original   Doggear,   the   Court   should  
proceed  by  dismissing  the  complaint  in  its  entirety  for  lack  of  personal  jurisdiction.  
  
  

  
  

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                                               III.    CONCLUSION  

        Based  on  the  foregoing,  the  Court  should:  (1)  dismiss  the  Plaintiff’s  complaint  for  lack  
of   service   of   a   summons   and   lack   of   proper   service;   and   (2)   dismiss   Plaintiff’s   complaint   for  
lack  of  personal  jurisdiction.      
  
                                                                          LUNSFORD  LEGAL  GROUP  
                                                                
                                                                
                                                                   By:            /s/  Loren  L.  Lunsford               
                                                                                    LOREN  L.  LUNSFORD  
                                                                                    Attorneys  for  Defendant  
                                                                                     Original  Doggear,  ApS  
                                                                
  




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